Case 2:05-md-01657-EEF-DEK Document 42835-1 Filed 05/26/10 Page 1of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Nina J. Greggs, et al. JUDGE FALLON
v

Merck & Co., Inc, et al. MAGISTRATE JUDGE KNOWLES

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Docket Ne. 2:07-cv-03969

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiffs Nina J. Greggs and Gabriel L. Greggs in the
above-captioned case be and they hereby are dismissed with prejudice with each party to bear his
or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
